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               EXHIBIT 46
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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


DINÉ CITIZENS AGAINST RUINING OUR                      )
ENVIRONMENT; et al.,                                   )
                                                       )       Case No. 1:19-cv-00703
                                                       )
       Plaintiffs,                                     )
                                                       )
       v.                                              )       DECLARATION OF JOHN
                                                       )       HORNING IN SUPPORT OF
DAVID BERNHARDT, in his official capacity              )       PLAINTIFFS’ MOTION FOR
as Secretary of the United States Department of        )       TEMPORARY RESTRAINING
Interior; et al.,                                      )       ORDER AND PRELIMINARY
                                                       )       INJUNTION
                                                       )
       Federal Defendants.                             )
                                                       )


I, John Horning, declare as follows:

       1.      My name is John Horning. I am personally aware of the matters set forth below,

and if called as a witness, could truthfully testify thereto. As to those matters which reflect a

matter of opinion, they reflect my personal opinion and judgment upon the matter.

       2.      Since April 2002, I have served as Executive Director of WildEarth Guardians

(“Guardians”). In my capacity as Executive Director, I am well aware of the financial holdings

and status of the organization.

       3.      Guardians is a non-profit organization dedicated to protecting and restoring the

wildlife, wild places, wild rivers, and health of the American West. Headquartered in Santa Fe,

New Mexico, Guardians has staff and other offices around the West, including in Denver,

Portland, and Missoula.
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       4.      As detailed in our most recent draft audit, we had net income at the end of 2018 of

$4,465,107. The majority of these assets are legally constrained to supporting specific projects.

Our expenses for 2018 were $4,105,479, and will be approximately $4,763,522 in 2019.

       5.      Our liquid assets at the end of 2018 were approximately $2,684,094. Our current

operating expenses are approximately $397,307 per month. We typically receive little funding

between January and June, relying on the liquid year-end assets from the previous year to carry

the organization until the July-December fundraising season. We have just enough funds this

year to carry the organization through the next funding cycle.

       6.      WildEarth Guardians’ financial operations, and that of other, similar non- profits,

are very different from a for-profit corporation because the money we receive from private

foundations through grants—$1,353,825 in 2018—is typically dedicated to a particular expense.

We are legally bound to perform specific activities with these monies. For example, we have a

three-year grant from the Wilburforce Foundation in the amount of $85,000 per year to protect

the Mexican gray wolf, other imperiled species, and the public lands within the Greater Gila

region of New Mexico and Arizona. We cannot legally reallocate this foundation’s money to

other purposes. Another example of how our assets are restricted is our restoration program,

which receives federal, state, and local government grants to restore rivers and streams. In 2018,

we received over $973,760 in contracts to restore degraded streams. These grants require us to

conduct specific activities, such as planting trees and shrubs, on specific streams for which we

are then reimbursed. Re-allocating these monies is illegal.

       7.      As described above a large portion of the money we receive are grants that are

restricted to fund a particular activity, whether planting trees or defending wolves. In addition,

while the majority of the money we raise from donors and members is not restricted to specific



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programs and activities, some of it is. We allocated unrestricted monies from members and

donors to fund our general operating expenses. These general operating expenses cover all

administrative functions, including administrative and executive staff salaries, rent, equipment

purchase, maintenance and repair, and any other overhead expense of WildEarth Guardians. A

very small relative and gross amount of our general operating expenses is allocated to litigation,

including litigation to enforce federal environmental laws, which is in the public interest.

       8.      The fact of the matter is we simply do not have money available to pay a

substantial bond in this case. WildEarth Guardians operates quite differently from a for-profit

business. We do not make money and then disburse it to owners or shareholders; rather, we

spend what we receive, and what we receive is almost always allocated to a specific purpose.

There is no “profit margin” that results in excess funds and our tax return cannot be reviewed

with that in mind. There simply are no profits to disburse or to save for the future in a non-profit

corporation.

       9.      WildEarth Guardians brings public interest lawsuits under citizen suit and other

judicial review provisions created by Congress that allow organizations such as ours to seek

enforcement of environmental laws. WildEarth Guardians has no personal or financial stake in

the litigation we pursue and therefore prosecutes lawsuits, such as this one, that benefit the

public as a whole and are aimed at vindicating public interests. In the present litigation,

WildEarth Guardians will reap no financial benefit should it prevail in the lawsuit.

       10.     This is not the only lawsuit in which WildEarth Guardians is a party. Currently

we have approximately 50 cases pending throughout the country. Through such litigation we

seek to protect endangered species habitat and human health and the environment in the public’s

interest and to enforce provisions of the National Environmental Policy Act and other



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